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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

L. LIN WOOD, JR.,                     )
                                      )
            Plaintiff,                )
-vs-                                  )
                                      ) Case No. 1-21-cv-01169 TCB
PAULA J. FREDERICK, et al.,           )
                                      )
            Defendants.               )


                     PLAINTIFF’S MOTION FOR JUDICIAL
                    DISQUALIFICATION AND/OR RECUSAL

       COMES NOW the Plaintiff, L. LIN WOOD, JR., by and through undersigned

counsel, and pursuant to Title 28 U.S.C. § 144 and 28 U.S.C. § 455, moves for the

disqualification and/or recusal of the district court judge assigned to this case, the

Honorable Timothy C. Batten, Jr., and for a stay of the case pending the resolution

of this Motion. As grounds in support of this Motion, Plaintiff states the following:

                                 BACKGROUND
       1.     On November 25, 2020, Plaintiff Wood appeared as co-counsel in a

complaint filed by Presidential Electors from Georgia, which sought to enjoin the

certification of Georgia’s 2020 Presidential Election results based on irregularities

and vulnerabilities in Georgia’s election machines.
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      2.       On November 27, 2020, the Presidential Electors’ complaint, Case No.

20-cv-4809, was assigned to the Honorable Timothy C. Batten, Jr., U.S. District

Court Judge.

      3.       On Sunday, November 29, 2020 Plaintiff appeared before Judge Batten

via Zoom and argued the Presidential Electors’ motion for a temporary restraining

order, which the Court granted in part.

      4.       On December 18, 2020, Plaintiff Wood filed a separate and unrelated

complaint in the United States District Court for the Northern District of Georgia

seeking declaratory and injunctive relief pertaining to the senatorial run-off election

which had been scheduled for January 5, 2021.

      5.       On December 19, 2020, the unrelated complaint in Case No. 20-cv-

5155 was also assigned to the Honorable Timothy C. Batten, Jr., U.S. District Court

Judge.

      6.       On December 28, 2020, Judge Batten, without reaching the merits of

the claims set forth in the complaint, entered an Order dismissing the claims based

on the Court’s determination that Mr. Wood lacked standing to pursue the claims.

      7.       On February 5, 2021, the Defendants, individually and collectively, as

members of the Disciplinary Board of the State Bar of Georgia notified Plaintiff that

they had initiated an investigation concerning his professional conduct and mental

fitness to practice law, based on statements attributed to him on social media, as well


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as his participation in numerous lawsuits challenging aspects of the 2020 elections,

including at least one lawsuit litigated before Judge Batten.

      8.     On March 23, 2021, Plaintiff Wood filed the instant action seeking

declaratory and injunctive relief pursuant to Title 42 U.S.C. § 1983, based on a

violation of the Plaintiff’s constitutional rights under the First, Fourth and Fourteenth

Amendments of the United States Constitution [DE 1].

      9.     On March 25, 2021, the Plaintiff’s complaint was assigned to the

Honorable Timothy C. Batten, Sr., U.S. District Court Judge.

      10.    Plaintiff submits that in accordance with the Code of Conduct for

United States Judges and the ABA Model Code of Judicial Conduct, Judge Batten’s

recusal and/or disqualification is mandated in this instance because Judge Batten has

personal knowledge of disputed facts concerning the instant proceedings and

because he is expected to serve as a material witness in this case.

      11.    Plaintiff avers that Canon 3: B(6) of the Code of Conduct for United

States Judges provides that “a judge should take appropriate action upon receipt of

reliable information indicating the likelihood that … a lawyer violated applicable

rules of professional conduct.”

      12.    Similarly, Rule 2.15(D) of the American Bar Association’s Model

Code of Judicial Conduct sets forth that “a judge who receives information




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indicating a substantial likelihood that a lawyer has committed a violation of the

Rules of Professional Conduct shall take appropriate action.”

      13.    While Defendants contend that Plaintiff violated the professional rules

of conduct and/or exhibited mental instability based on his involvement and legal

representation in the 2020 election related cases, at no time during or subsequent to

the 2020 election related cases, did Judge Batten sanction Plaintiff for inappropriate

or unprofessional conduct or otherwise take any action or file any complaint to call

Plaintiff’s professional conduct or mental stability into question.

                           MEMORANDUM OF LAW

I.    GENERAL PRONOUNCEMENTS REGARDING RECUSAL AND/OR
      DISQUALIFICATION OF A JUDGE

      “Canon 2 [of the Code of Conduct for United States Judges] tells judges to

‘avoid impropriety and the appearance of impropriety in all activities,’ on the bench

and off.” Dinkins v. Leavitt, 2008 U.S. App. Lexis 22847, *14 (11th Cir. 2008)

(citations omitted). The Code of Conduct for United States Judges and case law

make clear that judges should avoid even the appearance of impropriety. Liljeberg

v. Health Services Corp., 488 U.S. 847 (1988). “The guarantee to the [parties and

counsel] of a totally fair and impartial tribunal, and the protection of the integrity

and dignity of the judicial process from any hint of appearance of bias is the




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palladium of our judicial system.” United States v. Alabama, 828 F.2d 1532, 1539

(11th Cir. 1987).

      Canon 3 prescribes the circumstances which warrant the disqualification of a

United States Judge. In pertinent part, subsection (C) provides that: (1) a judge shall

disqualify himself or herself in a proceeding in which the judge’s impartiality might

reasonably be questioned, including but not limited to instances in which (a) the

judge has a personal bias or prejudice concerning a party, or personal knowledge of

disputed evidentiary facts concerning the proceeding…; and (d) the judge or the

judge’s spouse … is (iv) to the judge’s knowledge likely to be a material witness in

the proceeding…. (emphasis added). To ensure that the courts remain above

reproach, Congress, consistent with the Code of Conduct, passed statutory

provisions governing the disqualification of federal judges. The relevant statutes

are 28 U.S.C. §§ 144 and 455.

II.   LEGAL PRINCIPLES AND STATUTES GOVERNING RECUSAL
      AND/OR DISQUALIFICATION OF A JUDGE.
                                A.    28 U.S.C. § 455

      Title 28 U.S.C. § 455 provides, in pertinent part:

      (a) Any justice, judge, or magistrate of the United States shall
      disqualify himself in any proceeding in which his impartiality might
      reasonably be questioned.
      (b) He shall also disqualify himself in the following circumstances:



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      (1) Where he has a personal bias or prejudice concerning a party, or
      personal knowledge of disputed evidentiary facts concerning the
      proceeding...
      In applying § 455(a), the Eleventh Circuit has repeatedly stated:

      The test for determining whether a judge's impartiality might
      reasonably be questioned is an objective one and requires asking
      whether a disinterested observer fully informed of the facts would
      entertain a significant doubt as to the judge's impartiality.
Biven Gardens Office v. Barnett Banks of Florida, 140 F.3d 898, 912 (11th Cir. 1998)

(citing Diversified Numismatics, Inc. v. City of Orlando, 949 F.2d 382, 385 (11th Cir.

1991) and Parker v. Connors Steel Co., 855 F.2d 1510, 1524 (11th Cir. 1988)). The

intent underlying § 455(a) is “to promote public confidence in the integrity of the

judicial process” and “to promote confidence in the judiciary by avoiding even the

appearance of impropriety whenever possible.” Liljeberg,488 U.S. at 860; see

also Parker, 855 F.2d at 1523.

      Moreover, in light of the intent of the statute, disqualification should be

granted under § 455(a) where a judge would harbor any doubt concerning whether

disqualification is appropriate. Parker, 855 F.2d at 1524 (citing United States v.

Alabama, 828 F.2d at 1540). Neither actual partiality, nor knowledge of the

disqualifying circumstances on the part of the judge during the affected proceeding,

are prerequisites to disqualification under § 455(a). See United States v. Torkington,

874 F.2d 1441, 1446 (11th Cir. 1989).




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      Because § 455(a) focuses on the appearance of impartiality, as opposed to the

existence in fact of any bias or prejudice, the statute does not give a judge discretion

as to whether to recuse himself. See United States v. Cerceda, 161 F.3d 652 (11th

Cir. 1998). Rather, the statute instructs the judge to disqualify himself if the public

may perceive his rulings, as being affected. United States v. Kelly, 888 F.2d 732,

744-45 (11th Cir. 1988). Thus, “a judge faced with a potential ground for

disqualification ought to consider how his participation in a given case looks to the

average person on the street.” Potashnick v. Port City Construction Co., 609 F.2d

1101, 1111 (5th Cir.), cert. denied, 449 U.S. 820 (1980). Consequently, § 455(a)

requires judges to resolve any doubts they may have as to whether they should hear

a case in favor of disqualification. Id.

                                  B. 28 U.S.C. § 144

      Section 144 provides:

      Whenever a party to any proceeding in a district court makes and files
      a timely and sufficient affidavit that the judge before whom the matter
      is pending has a personal bias or prejudice either against him or in favor
      of any adverse party, such judge shall proceed no further therein, but
      another judge shall be assigned to hear such proceeding.
      The affidavit shall state the facts and the reasons for the belief that bias
      or prejudice exists, and shall be filed not less than ten days before the
      beginning of the term at which the proceeding is to be heard, or good
      cause shall be shown for failure to file it within such time. A party may
      file only one such affidavit in any case. It shall be accompanied by a
      certificate of counsel of record stating that it is made in good faith.
28 U.S.C. § 144.

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      Where a litigant submits a sufficient affidavit and certificate, recusal is

mandatory: the presiding judge may take no further action in the litigant’s case.

United States v. Alabama, 828 F.2d at 1540. Moreover, the district court must take

as true all the facts stated in the affidavit. Id.; Berger v. United States, 255 U.S. 22,

36 (1921) (“The section withdraws from the presiding judge a decision upon the

truth of the matters alleged”). Id. To warrant disqualification the affidavit “must

give fair support to the charge of a bent of mind that may prevent or impede

impartiality of judgment.” Id. at 33-34.

      Given the factual circumstances present in this case, any objective, reasonable

person would, under the circumstances, have reason to doubt Judge Batten’s

impartiality. Accordingly, disqualification is mandated under § 455(a).

       For the same reasons disqualification and/or recusal is mandated under §

455(a), it is also mandated under § 455(b)(1) and (5), because Judge Batten has

personal knowledge of disputed evidentiary facts concerning the proceedings and is

likely to serve as a material witness in these proceedings. Specifically, Judge Batten

had the opportunity to witness and observe Plaintiff’s professional conduct and

mental acuity with respect to, and during his representation of the plaintiffs in the

2020 election cases assigned to him and referenced by Defendants in the

Disciplinary Board’s investigation. To be sure, both the Code of Conduct for United

States Judges and the ABA Model Code of Judicial Conduct, in no uncertain terms,


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mandates that if a judge observes that a lawyer is mentally unfit or is committing a

violation of the Rules of Professional Conduct, the judge shall take appropriate

action and inform the appropriate authority. (emphasis added).

       At no time did Judge Batten take issue with Plaintiff Wood’s mental acuity or

professional conduct in relation to the two 2020 related election cases assigned to

him, and Plaintiff seeks to call Judge Batten as a material witness in that regard.

       For all these reasons, Judge Batten’s disqualification and/or recusal is

mandatory under § 455 (a) and (b)(1) and (5).

III.   THE PROCEEDINGS IN THIS MATTER SHOULD BE STAYED
       PENDING RESOLUTION OF THIS MOTION
       District courts enjoy broad discretion to stay proceedings. Sessions v.

Barclays Bank Delaware, 276 F. Supp.3d 1349 (N.D. Ga. 2017). District “courts

have inherent power to manage their dockets and stay proceedings.” Id; Allstate

Insurance Co. v. Electrolux Homeproducts, Inc., 2019 WL 7494445 *1 (S.D. Ga.

2019) (citing Clinton v. Jones, 520 U.S. 681, 708 (1997). Stays are appropriate to

promote judicial economy. Id. Stays are warranted until the issue of disqualification

is resolved. See Hermann v. Gutterguard, 2008 U.S. Dist. Lexis 22786 (N.D. Ga.

2008).

       Plaintiff seeks through his Motion to have this matter re-assigned to a

different Judge based both upon the fact that the district Judge has personal

knowledge of disputed evidentiary facts and is a material witness in these

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                      CERTIFICATE OF COMPLIANCE

      I CERTIFY that this document has been prepared in compliance with Local

Rule 5.1C using 14-point Times New Roman font.


                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the above motion was

served upon the following individuals via the Court’s ECF-filing system and via U.S.

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